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     SHARON M. NAGLE- 179124
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 6   Attorneys for Defendants Judge John T. Feeney,
     Judge Marilyn B. Miles, Judge Timothy P.
 7   Cissna, California Judicial Council, and
     the Superior Court for the County
 8
     of Humboldt
 9
                                UNITED STATES DISTRICT COURT
10
                             NORTHERN DISTRICT OF CALIFORNIA
11
                                        SAN FRANCISCO DIVISION
12
                                                  )     Case No. C-16-0715-CRB
13   RATA BEY MENIOOH,                            )
                                                  )     REQUEST TO APPEAR BY TELEPHONE
14                         Plaintiff,                   COURTCALL; [PROPOSED] ORDER
                                                  )
                                                  )
15   vs.                                          )     Date: June 24, 2016
                                                  )     Time: 10:00 a.m.
16   STATE OF CALIFORINA, et al.                  )     Courtroom: 6
                                                  )
17                        Defendants.             )
18
            Counsel for Defendants Judge John T. Feeney, Judge Marilyn B. Miles, Judge
19
     Timothy P. Cissna, California Judicial Council, and the Superior Court for the County of
20

21   Humboldt ("Judicial Defendants") respectfully request that the Court allow a telephonic

22   appearance at the hearing on the Case Management Conference and Motion to Dismiss

23   Plaintiffs Complaint set for June 24, 2016, at 10:00 a.m. before the Honorable Charles R.
24   Breyer. This request is made on the grounds that counsel for the Judicial Defendants is located
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     in Walnut Creek, in Contra Costa County. Personal appearance at the hearing would cause a
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     hardship on the Judicial Defendants in that travel time and further expense would be incurred.
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                        REQUEST FOR TELEPHONIC APPEARANCE; [PROPOSED] ORDER
       Case 3:16-cv-00715-CRB Document 35 Filed 06/01/16 Page 2 of 2




 1   If granted, Craig L. Judson or Sharon M. Nagle will make a telephonic appearance through

 2   Courtcall by way of the Bold, Polisner, Maddow, Nelson & Judson office landline ((925) 933-
 3
     7777.)
4
     DATE: May 18,2016                    BOLD, POLISNER, MADDOW, NELSON & WDSON
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                                           By:~
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                                                    JNAGL(~
                                                      J· ~.2 _
                                                b')fARON M.
 8                                               Attorney for Judicial Defendants

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10                                              ORDER
              The request of Sharon M. Nagle to appear telephonically at the hearing on the Motion
11
     to Dismiss Plaintiffs Complaint on June 24, 2016 at 10:00 a.m. is hereby GRANTED.
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13
     DATE: May 31 '2016                    By:~------------------------------­
14                                            The Honorable Charles R. Breyer
                                              Judge for the United States District Court,
15
                                              Northern District of California
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                          REQUEST FOR TELEPHONIC APPEARANCE; [PROPOSED] ORDER
